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AO 245B (Rev, 02/18) Judgment in a Criminal Case
Sheet }

UNITED STATES DISTRICT COURT Clerk, U.S. District and

Bankruptey Courts
District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Y,
CANDACE MARIE CLAIBORNE Case Number: 17cr69 (RDM)
USM Number: 35119-0176

David W. Bos

Defendant's Attorney :

THE DEFENDANT:
i pleaded guilty to count(s) ONE (1) of the Indictment filed on 4/11/2017.

(J pleaded nolo contendere to count(s}
which was accepted by the court.
(0 was found guilty on count(s)
aficr a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. 371 Conspiracy to Defraud the United States. 1/26/2017 1
The defendant is sentenced as provided in pages 2 through = 7? _ of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

(1 The defendant has been found not guilty on count(s)

Mi Count(s) ALL REMAINING COUNTS (is Ware dismissed on the motion of the United States.

It is ordered that the defendant must notify the United Scues attorney for this district within 30 days of any change of name, residence,
or mailing address wntil all fines, restitution, costs, and special assessments imposed hy this judgment are fully paid. Tfordered to pay restitution,
the defendant musi sonfy the cuurt and United States attorney of material changes in economic circumstances.

 
 
 
 

TiQie
v af bnpedsition pl Judgment
s Ce’ MY. /) :
Randolph D. Moss U.S. District Judge

Name and Title of Judge

Zee (c4
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AO 245B (Rev. 02/18) Judgment in Criminal Case
Sheet 2. -- {mprisonment

Judgment — Page 2 0°
DEFENDANT: CANDACE MARIE CLAIBORNE
CASE NUMBER: 17cr69 (RDM)

IMPRISONMENT

The defendant 1s hereby cammitted to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

FORTY (40) Months on Count One (1) of the Indictment.

[J] The court makes the foilowing recommendations to the Bureau of Prisons:

Mi The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
[] at Oo am £ pm. on
[as notified by the United States Marshal.

[] The defendant shall surrender for service of sentence at tne institution designated by the Bureau of Prisons.
[) before 2 p.m. on
-] as notified by the United States Marshal.

("as notified by the Probation or Pretria. Services Office.

RETURN
T have executed this judgment as follows.
Defendant delivered on to
at _, -with a certified copy of this judgment,
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 02/183 Judgment in s Crimina! Case
Sheet 3 Supervised Release

 

Judgment—-Page 3 uf
DEFENDANT: CANDACE MARIE CLAIBORNE
CASE NUMBER: 147cr69 (RDM)
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
THIRTY-SIX (36) Months on Count One (1) of the Indictment.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

N=

You must not unlawfuily possess a controlled substance,
You mus‘ refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at icast two periodic drug tests thereafter, as determined by the court.

Wi The above drug testing condition is suspended, based on the court's determination that you

pose a low risk of future substance abuse. (check 4 applicable)

4. J You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (cheek ffappheable)
You must cooperate in the coliection of DNA as directed by the prabation officer. feheck if anpiicable)

Na?

CF ish

You must comply wrth the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, er seq.) as
directed by the probat:on officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a4 stucent, or were convicted of a qualifying offense. (check if applicable}

7. 7] You must participate in an approved program for domestic violence. (check if applicabie)
p Pp p

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AQ 24538 (Rev. 02/18) Judgment in a Criminal Case

Sheet 3A —- Supervised Release

 

 

Judgment—Page 4 of ¢

DEFENDANT: CANDACE MARIE CLAIBORNE
CASE NUMBER: 17cr69 (RDM)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and idertify the minimum tools needec by probation
officers to keep informed, report to the cour. about, and bring abou! improvements in your conduct and condition.

|

13.

You must report to the probation office in the federal ‘udicial district where you are authorized to reside within 72 hours of your
release from imprisonmen:, unless the probation officer instructs you to report to a different probation office or within a different time
frame,

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must repost to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

You must answer truthfully the questions asked by your prodation officer.

You must live at a place approved by the probation officer. If you plan to change where you ‘ive or anything about your living
arrangements (such as the people you I:ve with), you must notify the probation officer al least 10 days before the change. If notifying
the probation officer in advance is not possible duc to unanticipated circumstances, you must notify the probation office: within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probat.on officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawfu type of employment, unless the probation officer excuses you from
doing so. If you do not have full-tzme employment you must try to find full-time employment, untess the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 cays before the change, If notifying the probation officer at leas: 10
days in advance is not possible duc to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected changc.

You must not communicate of interact with someone you know is engaged in criminal activity. If you know someone has becn
convicted of a felory, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer with.n 72 nours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i ¢., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or dcath to another person such as nunchakus or tasers).
You must not act or make any agrecment with 8 law enforcement agency to act as a confidemial human source or informant without
first getting the permission of the court.

If the probation officer determines tha: you pose a risk to another person (including an organization), the probation officer may
require you to notrfy the person about the risk and you must comply with that instruction, The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A US. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For farther information regarding these conditions, see Overview of Probation and Supervised

Release Conditions, available at: ween wscourts. pov

Delendant's Signature

Date
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AO 245BfRev, 02/18} Tudgment in a Crimina, Case
Sheet 3D —- Supervised Release

Judgment - Page 5 of 4
DEFENDANT: CANDACE MARIE CLAIBORNE
CASE NUMBER: 17cr69 (RDM)

SPECIAL CONDITIONS OF SUPERVISION

Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information. The Probation Office may share financial information with the United

States Attorney's Office.

Financial Restrictions - You must not incur new credit charges, or open additional lines of credit without the approval of the
probation officer.

Financial Payment - If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the
Schedule of Payments sheet of the judgment. You must also notify the court of any changes in economic circumstances
that might affect the ability to pay this financial penalty.

Financial Payment Schedule — Having assessed the defendant's ability to pay, payment of the total criminal monetary
penalties is due as follows: Payment in monthly installments of at least $500, to commence 60 days after release from

imprisonment to a term of supervision.

Re-eniry Progress Hearing - Within sixty days of release from incarceration or placement on supervision, you will appear
before the Court for a re-entry progress hearing. Prior to the hearing, the U.S. Probation Officer will submit a report
summarizing your status and compliance with release conditions. If you are supervised by a district outside of the
Washington, D.C. metropolitan area, the U.S. Probation Office in that district will submit a progress report to the Court
within 60 days of the commencement of supervision; upon receipt of the progress report, the Court will determine if your
appearance is required.

You shall complete your obligation to the Government, as set forth in the plea agreement.

The Probation Office shalt release the presentence investigation report to all appropriate agencies, which includes the
United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.
Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or

termination from treatment.
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AQ 245B (Rev 02/18) Judgment in a Criminal Case
Sheet 5 --- Criminal Monetary Penalties

 

Judgment — Page § of 7
DEFENDANT: CANDACE MARIE CLAIBORNE
CASE NUMBER: 17cr69 (RDM)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the scheduie of payments on Sheet 6.

Assessment JIVTA Assessment* Fine Restitution
TOTALS § 100.00 $ $ 40,000.00 $
“] The determination of restitution is deferred until =) An Amended Judgment un a Criminal Case (AO 245C) will be entere

after such determination,
Cl) The defendant mus: make restitution (including community restitution) 10 the following payees in the amount listec below.
ithe dctendant makes a partial payment, cach payee shali receive an upproximately proportioned payment. unless speciied otherwise in

the priarity order or percentage payment column beluw. However, pursuant to 18° U.S.C. § 3664), all noniederal victims must be paid
belive the United States ts paid.

 

Name of Payee Total Loss** Resthution Ordered Priority ar Pereeniuge
TOTALS $ 0.00 $ 0.00

LC] Restitution amount ordered pursuant to plea agreement 3

(J) The defendan: must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Shect 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

@ The court determined that the defendant does 20: have the ability to pay interest and it is ordered that:
WV) the interest requirement ‘s waived for the ¥] fine (2 restitution.

7] sthe interest requirement for the m™ fine © restitunon is modified as follows:

* Jusuce for Victims of (Trafficking Act of 2015, Pub. L. No. ¢ 14-22, _ . og
** Findings for the total amaurni of lusses are required under Chapters 109A, 110, L1OA, and 113A of Title 18 for offenses committed on or

afier September 13, 1994, hur hefare April 23, 900,
Case 1:17-cr-O0069-RDM Document 69 Filed 07/17/19 Page 7 of 7

AO 2458 (Rev 02/18) Judgment ma Crmina! Case

Sheet 6 — Schedu‘e of Payments

 

Iudgment—Page — 7 of

DEFENDANT: CANDACE MARIE CLAIBORNE
CASE NUMBER: 17cr69 (RDM)

SCHEDULE OF PAYMENTS

Having essessed the defendant’s ability to pay, payment of ihe total cr:minal monetary penalties is duc as follaws;

A wi
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Cc 0
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Fw

Unless the court has expressly ordered otherwise, if this judgment imposes imprison
the peread of imprisonment. All grinnal menctary penailies, except those paynients nade through the Federal! Bureau of Prisons’ Inmate

Lump sum payment of $ 100.00 due immediately, balance due

7 not later than - : ,or
Mio omaccordancewith  C, 73D, OC E,or & F below; or

Payment to begin immediately (may be combined with (CC, {'D,o (CIF below), or

Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of
fag. months or years}, to commence fe.g., 30 or 60 days) after the date of this sucgment; or

Payment in equa (2.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g, months or years), 70 Commence (e.g., 30 or 69 days} after release from imprisonment to a

term of supervision; or

Payment curing the term of supervised release will commence within (e.g. 30 or 69 days) after release from

imprisonment. The court will set the payment plan based on an assessment of the defendant's ability fo pay at that time; or

Special instructions regarding the payment of criminal monetary penaities:

Payment in monthly installments of at least $500, to commence 60 days after release from imprisonment to a term

of supervision. The financial obligations are immediately payable to the Clerk of the Court for the U.S. District
Court, 333 Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall
notify the Clerk of the Court of the change until such time as the financial obligation is paid in full.

Financial Responsibility Pragraum, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any crimina. monetary penallies imposed.

{1 Jomt and Several

Defendant and Co-Defendant Names and Case Numbers (include defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

(<The deferdant shall pay the cost of prosecution.

[> The defendant shall pay the following court cost(s):

C1] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine

interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, mchuding cost of prosecution and court costs.

men, payment of criminal monctary penalties is duc during
